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             3,                          LEE 2016— 4                       3
                                                                                               w
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                          STATEMENT OF PRO SE DEBTOR
Debtor’sName            {W        i    33h   mo   Case No

Address cQéP%S”    Em,“ Mum?
           'FL‘ \nr§n\m\rutg           DA
                                         AKKQ
                                             MR;
                                                  Chapter   of Case        \3
                       ‘                                                       1




Telephone Number (home)                           Date Case Filed     53       Z
                                                                                   i   Z
                                                                                           9.83 9
Telephone Number (wofk)

1.    List the name, address, and telephone number of any person or business assisting you in
                                                                ‘

      ﬁling or preparing papers for this case:

                  N/A
                    K




      State how you were referred to the person or business named above or the source                       of
      advertisement you responded to

                           N/A
      a.   Total fee'charged by person or business named above        $                        r




                                                                                       Q
      b.   Amount of fee paid as of the date you ﬁled bankruptcy $
                                                                                       Q
      0.   Did the preparer tell you the amount of court costs that must be paid to ﬁle your
           case?
                                                                                       N
                                                                                            A
                                                                                                   ‘

                            YES              NO      (circle one)

      Were varioué chapters or types    of bankruptcy explained to you?
                                                                                                       ‘




                            YES              NO      (Circle one)                      M    /A§
      Other Comments

      Did the preparer explain to you that you have the right to claim certain property                    as
      exempt?

                            YES              NO      (Circle one)
                                                                                           N   /A
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6.      Did the preparer give you   a copy   of the papers he prepared for you?

                                 YES             NO    ,
                                                           (circle one)           N /k



                             ‘
                                    1




Date:   EZ‘ZQQCU?
                                                      5:11le              ”fl/ﬂail)“
